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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Master Case No. C-07-5944 JST

                                   9                                                         Case No. 14-cv-2058 JST
                                        This Order Relates To:
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                                                                                             ORDER REGARDING DIRECT
                                  11    Crago, d/b/a/ Dash Computers, Inc., et al. v.        PURCHASER PLAINTIFFS’
                                        Mitsubishi Electric Corporation, et al., Case        SETTLEMENT WITH THOMSON
                                  12    No. 14-cv-2058 JST                                   DEFENDANTS
Northern District of California
 United States District Court




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                                  15             Currently before the Court is the Direct Purchaser Plaintiffs’ Motion for Final Approval of
                                  16   Class Action Settlement with Thomson Defendants, ECF No. 4091. The motion does not contain
                                  17   information concerning the total likely recovery by the class if Plaintiffs were to prevail at trial.
                                  18   The motion for preliminary approval, ECF No. 3562 (granted at ECF No. 3872), also did not
                                  19   contain this information. Thus, it is difficult for the Court to evaluate the adequacy and fairness of
                                  20   the proposed settlement.
                                  21             The Northern District of California’s Procedural Guidance for Class Action Settlements
                                  22   (available at http://www.cand.uscourts.gov/ClassActionSettlementGuidance) provides that any
                                  23   motion for preliminary approval should contain information including “[t]he likely recovery per
                                  24   plaintiff under the terms of the settlement and the potential recovery if plaintiffs were to prevail on
                                  25   each of their claims.” See also, e.g., In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1042
                                  26   (N.D. Cal. 2008) (considering amount of settlement compared to plaintiffs’ potential recovery at
                                  27   trial).
                                  28   ///
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                                   1         Settling Plaintiffs are ordered to file a supplemental brief addressing this factor by

                                   2   December 1, 2015.

                                   3         IT IS SO ORDERED.

                                   4   Dated: November 18, 2015
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                                                                                                     JON S. TIGAR
                                   6                                                           United States District Judge

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Northern District of California
 United States District Court




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